     Case 3:18-cv-00840-GPC-BGS Document 316 Filed 10/29/20 PageID.7891 Page 1 of 2




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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11     IN RE OUTLAW LABORATORIES, LP                    Case No.: 18-cv-840-GPC-BGS
       LITIGATION
12
                                                        ORDER SETTING BRIEFING
13                                                      SCHEDULE ON OBJECTION TO
                                                        MAGISTRATE JUDGE ORDER
14
15                                                      [ECF No. 315]
16
17          Counter-Defendant Tauler Smith LLP (“Tauler Smith”) has filed a motion for
18    reconsideration and objection to the Magistrate Judge’s Order, ECF No 311, which (1)
19    denied without prejudice Tauler Smith’s motion to modify in part the case schedule; (2)
20    conditionally granted motion to file under seal; and (3) set briefing on confidentiality
21    designation on settlement agreement. ECF No. 315.
22          The Court will set the following briefing schedule. Any response shall be filed on
23    or before November 25, 2020. Any reply shall be filed on or before December 9, 2020.
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     Case 3:18-cv-00840-GPC-BGS Document 316 Filed 10/29/20 PageID.7892 Page 2 of 2




 1          For judicial efficiency, the Court will schedule the hearing on this matter to be
 2    December 18, 2020 at 1:30 PM in Courtroom 2D, in which the Court will also hear the
 3    other pending motions.
 4          IT IS SO ORDERED.
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 6    Dated: October 29, 2020
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